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Colin McCracken

From:                 Wilson Sonsini LISTSERV Server (17.0) <LISTSERV@LIST.WSGR.COM>
Sent:                 Wednesday, July 26, 2023 4:18 PM
To:                   Colin McCracken
Subject:              Message Received To List



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